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i\O SSA (Rcv. 01/14) Stilipoena to 'l`i:siil`y iii a lJepositioii in ii Civil notion

UNITED STATES DisTiuCT COURT

l`or the
Middle District ol’Florida

Jet"frey Kaplari
P!c)i)i!iy"
v.
Fauldirig Hea|th Care (IP) Ho|dings, |nc.

 

Civi| A¢;ion NO, USPTO ProceedingNo.92606025

(Q`- l':l~nnt 353 'O\ft »/l‘lDC;

 

~_l\._.¢\-.u\_lv\_/

Defe)rdriiir
SUBPOENA TO TESTIFY AT A DEPOS]TION IN A CIVIL ACTION

To: Corporate Representative for Cross Brands Manufacturing, L.L.C.
c!o Christopher M. Ho|land, 210 5th Avenue South, Ste. 102, Cocoa Beach, FL 32931

(i`\'mrii» n )ersmi m \\'/ioiir this sub oeim is directed
f

il Tesii`moii_v: YOU ARE COMMANDED to appear at the time, date_. and place set l`orth below to testify at a
deposition to be taken in this civil action. |t`yoii are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behall”about the following inatters, or

those set forth in an attachment
See Exhibit "A" attached hereto

 

 

j place: 401 West Centra| Bou|evard Or|ando, FL_3`2‘8`0"1 Y,te and q'im@:
l °’ n ‘ 071122017 ; 0
Mutua|ly Agreeable Location /_\ fff>-\(-§\\)m ! m 0 am

 

_ _ _ "`M v \.\
The deposition will be recorded by tl i i : i»

\__/

IJ Prodi¢ci‘io)i: You, or your repre:~;entati\.tes1 must also bring with you to the deposition the following documents,
electronically stored infomiation, or objects, and must permit inspection, copying, testing. or sampling of the
material:

 

 

Tlte following provisions ot` Fed. R. Civ. P. 45 are attached - little 45{c), relating to the place ol`contpliance;
Rule 45(d), relating to your protection as a person subject to a stil)poena; and Rule 45(e) and (g), relating to your dutyl to
respond to this subpoena and the potential consequences ot`not doing so.

Date: _C;Zi_%ll. 7/@€?'

CLERKio r_

 

OR

Sr‘c, a 'e qf(`lerk or !)r'prrry Clerk .-l.'r¢)i‘ite_\‘ ’.\' .i'i_i;iicirirrr.-

 

Tlie naine, address, e-tnail address, and telephone number of the attorney representing maine afpar:_ty _ dewey Kaplan

, who issues or requests this stibpoena, are:
c/o Gustavo Sardina, 3162 Commodore Plaza, 3E, |'Vliami. FL 33133. gsardina@ag|awpa.com.(305)223-9999

 

 

Notice to the person who issues or requests this subpoena
lft|tis subpoena commands the production ot`documents, electronically stored inl`orinalion, or tangible things before
trial, a notice and a copyJ of the subpoena must be served on each party in this case be l’ore it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO SSA (Rc\'. OEIIA}Subpocnn to Testit`y at n Di:pnsiiinri in a Civil Aclt'on [l’agc 2)

Civi| Action NO_ USPTO ProceedingNo.QZSOSOZt-'>

PROOF DF SERV]CE
(This section should not heffled ii'ir!i the court unless required by Fed. R. Civ. P. 45.)

l l'€C€lVCCl tl`llS SUlJpO€t’lEl for (iirrirre of individual rian IiIi'c. ffmi_v)
Ol`i (r!rtte)

 

l:l l served the subpoena by delivering a copy to the named individual as l`ollows:

Ott (r!rire) ; Ot'

 

ij l returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf ol`lhe United Stat ofits officers or agents, l have also
tendered to the witness the fees l"or one day’s att@@@1 nn age allowed by |aw, in the amount ot`

S

My l`ees are S lot tiavel and 5 f`or scrvices_. for a total ot`$ 0.00

l declare under penalty of perjury that this information is true.

Date:

 

Seri'er 's s'igimriiri'

 

!’r'r`.litcd name wch title

Sc)'\’i_'r 's address

Additional information regarding attempted service, etc_:

CaS€ 6217-mC-00029-CE|\/|-DC|

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r\O BS¢\ (Rcv. U?.r'l4) Subpocnu to 'l`cstify at a Dcpositiorr in aCivil .r\ciion (t’agc 3)

 

Fedcral Rule of Civi| Procedure 45 (c), (d), [e), and (g} (Et`fective 12l1/13)

(c) |’lar:c of Compliuncc.

(1) Forrr Trr'el, H¢:aring, ur Dcpvsr'tr'on. A subpoena may command ii
person to attend a trial. lrcru'ing. or deposition only as l'ol|o‘ws:
(A) within 100 miles of where the person rcsidcs. is employed or
regularly transacts business in pcrson‘. or
(B) within the state where thc person rcsidcs. is cntploycd. or regularly
transacts business in pcrson. ifthc person
(i) is a party or a party’s oll'iccr'. or
(ii) is commanded to attend a trial and would not iuctir substantial
cxpcnse.

(2) I-`or Orlrer Dr'scaver_i'. A subpoena may coinm:ind:

(.-\) production ofdociuncnts. electronically stored inli)mt:ttiou. or
tangible things at ii place within 100 miles of where t|ic person rcsidcs. is
cmploycd, or regularly transacts business in pcrsou: nnd

(ll) inspection ofprcmiscs at tlic premises to bc inspected

(d) l'rotccting a |’crsou Sul)jcct lo a Subpoenu: linforc , -. [_-\|_‘
l r -`
1 rbr o

(l) Avm'r!i'rig Uudire Brrr¢!en ar £'.\pensc; Snncrr'uus. i'\ 1 cyj_j
responsible for issuing and sewing a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject lo the
subpoena 'l`lie court for the district where compliance is required must
enforce this duty and impose nn appropriate sauction_which may include
lost earnings and reasonable atiomcy`s fccs-on a party or attorney who
fails to comply.

(Z) Corrrrrrom! m Prarlrrce i'l!arcri'rils or Pr.'rmi.r lrr.i'pccri'orr.

(A) .-lpperrrarrcc Not Reqrir`red. ¢\ person commanded to produce
documents electronically stored information ortarigilrlc things, or to
permit thc inspection ofprcmiscs. need not appear in person iu thc place of
production or inspection unless also commanded to appear for a dcposition.
hearing or trial.

(I!) Objec.rr`mrs_ A person commanded to produce documents or tangible
things or to pcmrit inspection may serve on the party or attorney designated
in the subpoena a vn'itu:n objection to inspecting copying icsiing. or
sampling any or all of the materials or to inspecting the prcmisi:s-or to
producing electronically stored information in thc fomr or fomis rcqucsicd.
Thc objection must bc served before the earlier oftht: time specified for
compliance or 14 days allcr the subpoena is scrvcd. lfan objection is madc,
thc following rules ripply:

(i) At any timc, on notice to ilrc commanded pcrson_ the serving party
may move die court for the district where compliance is required for un
order compelling production or inspection

(ii) Thcsc acts maybe required only as directed iii thc ordcr. and thc
order must protect a pcrsori who is neither rt party nora party's officer from
significant expense resulting from compliance

(3) Qunsi'ri`)ig or."|»!i)rfij[i'i'ng rr Strbpaerra.

(i\) ll’hen chnr'red. Ori timely molion. the court for the district where
compliance is required must quash or modify a subpoena ihui:

(i) fails to allow rr reasonable time to comply:

(ii| requires a person to comply beyond thc geographical limits
specified in Rule 45(€};

(iii] requires disclosure nfprivilcgcd or other protected mutu:r. if rio
exception or waiver epplics; or

(iv) subjects a person to undue burdcn.

(H) ll”hcrr Permr`rrr.-rl. 'l`o protect a person subject to or a|'ti.:cu:d by a

subpocna, the court fortlu: district where compliance is required may. on
moiion, quash or modify the subpoena ifit rcquircs:

(i] disclosing tt triidc sccrct or other confidential rcsctiri:lt. developrncnt_.
irr commercial lnformation; or

(ii) disclosing an unrciaincil cspcrt's opinion or iufonnutiou that does
nut describe specific occurrences in dispute and results from thc c.\‘pcrt's
study that was not requested by n pariy.

{Cl .S`;Jccrj{vi'ug Conrli`i'i`ons ns wi .-llrcriran've. ln the circumstances
described in Rttlc 45[d}(3]{li)_ the court mayi instead ofqurisliing or
modifying it subpoena order appearance or production iindcr specified
conditions iftlic serving party:

(i) shows ii substantial need l`ortlrc testimony or material that cannot bc
otherwise met without undue hardship: und
(ii) ensures that the subpoenaed person will bc reasonably compensated

(c} Diitics in llcsporir.ling to il Sulipui.~n:i.

(l) Pror!m:i'rig Dncnmenrs or E{ecrrrrm’cm'l_v Smrcri' ftt;,i'armrr.rir)rr. 'l'hcsc
procedures apply to producing documents or electronically stored
inforinutiott!

\) ocu.'ueui.r. r\ person responding to a subpoena to produce documents
odircc them us thc ' arc kept iu thc ordinary course of business or
mu t rgnuir.c and label them to correspond to the categories iu the demand

Formfar Pr'ndircr`rrg f:`i'er.'from`caifu .S`rored' lrrformrri'mir .'\'m' S`pccg`{r`ircf.
|f:r subpoena docs not specify ii form for producing electronically stored
ii\fomurtion. thc person responding must produce it in a form or forms iu
which it is ordinarily maintained or in ii reasonably usable fonn or forms.

{(j) L;'t‘ecti'r)rn'cm'i_\° Stor'e¢! Ii[forrurtri`nn Protiiicerl r'n Onl_t' Orre f"orrir. 'l`hc
person responding need not produce thi: same electronically stored
infomration in more than one fomr.

(I)) inaccessible L"i'ecrmm`cu!!_v Srorea' information 'l`ltc pcrson
responding nccd not provide discovery of electronically stored iul`omtation
from sources that thc person identities as not reasonably accessible because
ofundiic burden or cost. Ou nioiiott iu compel discovery or for ii protective
ordcr. the person responding must show that the iufonnation is not
reasonably accessible because of undue hurdcn or cosi. lftlrnl showing is
inade, itic court may nonetheless order discovery li'om such sources ifthc
requesting party shows good causc. considering the limitations ol`Rulc
26tb](2)(C]. '[`ltc court may specify conditions for the discovery

 

(2) C/ur'rrrr'rrg ]’rfi'i'l'ege or Prnrecti'mt.

(.-\) !i;formciti'on ll’i.rhl'reirl. A person withholding subpoenaed infomratt'on
under a claim that ii is privileged or subject in protection as trial-preparation
material rnust:

(i) expressly make the claim; and

(il) describe thc nature oft|tc withheld documans. communications or
tangible things in a manner tli:u_ without revealing information itself
privileged or protected, will citable the parties to assess the claim.

(B) information Produced. if information produced iri response to a
subpoena is subject to a claim ofprivilcgc or of protection ns
trial-preparation matcrial. the person making the claim may notify any party
that received l|tc information ofilrc claim and thc basis for ii. A|i.i:r being
notificd. a party must promplly rcturn. scqucster. or destroy thc spccilicd
information and any copies ii luis: ntiist not usc or disclose i|u: information
until thc claim is rcsolvcd: must take rcasonablc steps to retrieve l|ic
iiilhrmatiou ifthc party disclosed it before being notifrcd; and may promptly
present the information under seal to the court for the district where
compliance is required for ii determination ol`the claim. 'l`hc person who
produced the information must preserve thc information until the claim is
rcsolvi:tl.

(g] Conti:ln]'it.

'|'hc court forthc district where compliance is requircd_nnd nlso. alter a
motion is transferred the issuing court-_rnay hold iu contempt ii person
who. having bccn scrvcd. fails without adequate excuse to obey thc
subpoena ur an order related to it.

For access to subpoena materials see l"cdi Rr C'iv. l’. dS[n) Comnrittcc Nou: t?.tt l 3).

 

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EXHIBIT A
Pursuanl to Rule 45 of the chcral Rttles Ol` Civil Proccdure, a Cotporate Representative
for Cross Brands l\/lanufacturing, L.L.C. (itereinaftcr “Cross Brands”) is hereby commanded to
appear, in lite Middle Distriet of Flot'icla or at a mutually agreed upon location, l"or deposition in
relation to USPTO Procceding No 92060205'(\216!/1§10@1€ following subject r'nattet:
l. CrOSS Brartd s relationsl‘@\t`h'l!aulding l-lealtlt Cate (IP) Holdirtgs, Irtc

2. Any and all Liccnsing Agreement related to the “Sea & Ski"" mark between Cross

Brands and Fattlding l-Iealth Cat'c (IP) l~loldings, inc.

3. Formulation of any goods sold by Cross Brand which bear the “Sea & Ski” Inark.

4. Manuf`actt.tring of any goods that bear the “Sca & Ski” ntark.

5 . Itt'fot'ntalion regarding goods sold by Ct'oss Brand which may use CoQ 10
chhnology.

